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From:                Craig, Aaron
Sent:                Friday, August 7, 2020 9:07 AM
To:                  Block, Micah G.
Cc:                  Akrotirianakis, Joe; Perez-Marques, Antonio J.; Andres, Greg D.; Noller, Matt
Subject:             Re: Extending Time re Motion to Compel


Micah: Thank you for your response about stipulating to the extension of time. We will proceed accordingly.

Your “understanding” of our correspondence as rejecting your proposal to meet and confer about the comprehensive
protective order is an unreasonable interpretation of the emails, and, for the avoidance of doubt, simply wrong. We are
very interested in meeting and conferring and trying to reach agreement on a comprehensive protective order. I don’t
know now whether we will be able to do so on Monday, and I don’t know whether this will be a “final” meet and confer
or not. But we will let you know when we have more information about when we can continue these discussions.

Aaron



        On Aug 7, 2020, at 8:34 AM, Block, Micah G. <micah.block@davispolk.com> wrote:

         **External Sender**
        Joe – For the reasons in Tony’s email below, and in light of your responses, we cannot agree to extend
        the Court’s deadlines on our motion. We understand your responses also to reject our proposal of a
        final meet and confer on the protective order on Monday.

        From: Akrotirianakis, Joe <JAkro@KSLAW.com>
        Sent: Thursday, August 6, 2020 8:20 PM
        To: Perez-Marques, Antonio J. <antonio.perez@davispolk.com>; Craig, Aaron <ACraig@KSLAW.com>
        Cc: Block, Micah G. <micah.block@davispolk.com>; Andres, Greg D. <greg.andres@davispolk.com>;
        Noller, Matt <MNoller@KSLAW.com>
        Subject: RE: Extending Time re Motion to Compel

        Tony, let’s just have a yes or no on the motion Aaron is asking about and not attempt try to tie it to all
        kinds of other things in the case or otherwise use it as leverage. If you need to discuss it, we are
        available at 10 a.m. PT tomorrow. If that’s not convenient, please propose another time, but it is a
        simply issue that we should be able to have the answer on tomorrow, whether or not we need to have a
        ‘practical discussion’ about it.


        –––
        Joseph N. Akrotirianakis
        Partner

        T: +1 213 443 4313 | E: jakro@kslaw.com


        From: Perez-Marques, Antonio J. <antonio.perez@davispolk.com>
        Sent: Thursday, August 6, 2020 6:26 PM
        To: Craig, Aaron <ACraig@KSLAW.com>
        Cc: Block, Micah G. <micah.block@davispolk.com>; Andres, Greg D. <greg.andres@davispolk.com>;
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Akrotirianakis, Joe <JAkro@KSLAW.com>; Noller, Matt <MNoller@KSLAW.com>
Subject: Re: Extending Time re Motion to Compel

**External Sender**

Aaron,



The opposition to the motion to compel is not due until August 19. If you have specific information that
you believe needs to be shared with us and the Court on an urgent basis, and which you feel you need
to reference in that opposition, then we remain willing to work with you on appropriate protections for
that specific information so it can be shared without delay. That would eliminate any need to disrupt
the Court’s briefing schedule on our motion to compel and would also moot both your motion for entry
of a protective order and motion to shorten time, allowing those motions to be cleared from the Court’s
docket. We believe this issue can be resolved with a practical discussion of what restrictions you think
should apply to this information. We are available to discuss that issue tonight.




Further, we propose setting Monday, August 10thas our final meet and confer on the comprehensive
protective order for submission to the Court.




Best,



Tony




Antonio J. Perez-Marques
Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017
212 450 4559 tel
212 701 5559 fax
antonio.perez@davispolk.com

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On Aug 6, 2020, at 6:13 PM, Craig, Aaron <ACraig@kslaw.com> wrote:


Counsel: As we have informed you and the Court [Docket No. 114], we are in
possession of information that directly affects the orderly administration of the case
that we are unable to share with you in the absence of a protective order. This
information squarely relates to the issues raised in the motion to compel you filed
yesterday. Without a protective order that allows us to disclose this information to you
and to the Court (under seal), any opposition to the motion to compel that we would
file would necessarily be materially misleading. Accordingly, we intend to ask the Court
to change the time to oppose the motion to compel to a date after September 9, 2020
(which is the date for which our motion for entry of a protective order is
noticed). Please let us know by tomorrow at 3:00 p.m. PDT if you are willing to stipulate
to this change. If you would like to discuss this, we can be available for a call this
afternoon or tomorrow.



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